      Case 1:24-cr-00556-DEH         Document 37    Filed 10/18/24       Page 1 of 30




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                                 24 Cr. 556 (DEH)
         -v.-

 ERIC ADAMS,

                        Defendant.




                THE GOVERNMENT’S OPPOSITION TO
 THE DEFENDANT’S MOTION TO DISMISS COUNT FIVE OF THE INDICTMENT




                                         DAMIAN WILLIAMS
                                         United States Attorney
                                         Southern District of New York
                                         26 Federal Plaza
                                         New York, New York 10278




Celia V. Cohen
Andrew Rohrbach
Hagan Scotten
Derek Wikstrom
Assistant United States Attorneys
        Of Counsel
          Case 1:24-cr-00556-DEH                         Document 37                 Filed 10/18/24                Page 2 of 30




                                                    TABLE OF CONTENTS


TABLE OF AUTHORITIES .......................................................................................................... ii
PRELIMINARY STATEMENT .................................................................................................... 1
BACKGROUND ............................................................................................................................ 1
   I. Factual Background ................................................................................................................. 2
   II. Legal Background .................................................................................................................. 3
ARGUMENT .................................................................................................................................. 4
   I. Count Five States a Federal Crime .......................................................................................... 4
       A. Applicable Law .................................................................................................................. 4
       B. Discussion .......................................................................................................................... 5
   II. Section 666 Does Not Require Jury Instructions on McDonnell’s Official Act
   Requirement .............................................................................................................................. 10
   III. The Defendant’s Conduct Satisfies any Official Act Requirement .................................... 15
       A. Applicable Law ................................................................................................................ 15
       B. Discussion ........................................................................................................................ 16
          1. Adams Agreed to Perform Specific and Focused Official Acts in Exchange for
          Bribes ................................................................................................................................ 16
          2. Adams Pressured the FDNY ......................................................................................... 19
          3. Adams Knew He Was Breaking the Law ..................................................................... 23
CONCLUSION ............................................................................................................................. 25




                                                                        i
          Case 1:24-cr-00556-DEH                        Document 37               Filed 10/18/24              Page 3 of 30




                                                TABLE OF AUTHORITIES
                                                                                                                                     Page
Cases:

Boone v. United States,
  No. 02 Cr. 1185 (JMF), 2017 WL 398386 (S.D.N.Y. Jan. 30, 2017)....................................... 11
Costello v. United States,
  350 U.S. 359 (1956) .................................................................................................................... 6
Evans v. United States,
  504 U.S. 255 (1992) .................................................................................................................. 17
Hamling v. United States,
  418 U.S. 87 (1974) ...................................................................................................................... 5
McDonnell v. United States,
  579 U.S. 550 (2016) ........................................................................................................... passim
Monsanto v. United States,
  348 F.3d 345 (2d Cir. 2003)...................................................................................................... 11
Russell v. United States,
  369 U.S. 749 (1962) .............................................................................................................. 8, 10
Snyder v. United States,
  144 S. Ct. 1947 (2024) ....................................................................................................... passim
United States. v. Percoco,
  13 F.4th 180 (2d Cir. 2021) ...................................................................................................... 19
United States v. Aiyer,
  33 F.4th 97 (2d Cir. 2022) .................................................................................................. 19, 20
United States v. Alfonso,
  143 F.3d 772 (2d Cir. 1998)........................................................................................................ 5
United States v. Avenatti,
  433 F. Supp. 3d 552 (S.D.N.Y. 2020)....................................................................................... 24
United States v. Bahel,
  662 F.3d 610 (2d Cir. 2011)...................................................................................................... 13
United States v. Benjamin,
  95 F.4th 60 (2d Cir. 2024) ................................................................................................. passim
United States v. Biaggi,
  853 F.2d 89 (2d Cir. 1988)........................................................................................................ 23
United States v. Blagojevich,
  794 F.3d 729 (7th Cir. 2015) .................................................................................................... 18
United States v. Bout,
  No. 08 Cr. 365 (SAS), 2011 WL 2693720 n.73 (S.D.N.Y. July 11, 2011) ................................ 9
United States v. Boyland,
  862 F.3d 279 (2d Cir. 2017).................................................................................... 11, 14, 16, 23
United States v. Burke,
  No. 19 Cr. 322, 2024 WL 3090277 (N.D. Ill. June 21, 2024) .................................................. 21
United States v. Crozier,
  987 F.2d 893 (2d Cir. 1993)...................................................................................................... 13
United States v. Dawkins,
  999 F.3d 767 (2d Cir. 2021)............................................................................................ 6, 15, 19

                                                                     ii
          Case 1:24-cr-00556-DEH                       Document 37               Filed 10/18/24             Page 4 of 30




United States v. De La Pava,
  268 F.3d 157 (2d Cir. 2001)........................................................................................................ 5
United States v. Friedman,
  854 F.2d 535 (2d Cir. 1988)...................................................................................................... 18
United States v. Goldberg,
  756 F.2d 949 (2d Cir. 1985)........................................................................................................ 5
United States v. Gonzalez,
  686 F.3d 122 (2d Cir. 2012).................................................................................................... 8, 9
United States v. Heard,
  709 F.3d 413 (5th Cir. 2013) .................................................................................................... 24
United States v. Inzunza,
  638 F.3d 1006 (9th Cir. 2011) .................................................................................................. 18
United States v. Jefferson,
  289 F. Supp. 3d 717 (E.D. Va. 2017) ......................................................................................... 8
United States v. Keleher,
  505 F. Supp. 3d 41 (D.P.R. 2020)............................................................................................... 8
United States v. Kimbrew,
  944 F.3d 810 (9th Cir. 2019) .................................................................................................... 23
United States v. Lee,
  919 F.3d 340 (6th Cir. 2019) ............................................................................................. passim
United States v. Madigan,
  No. 22 Cr. 115 (JBB) (N.D. Ill. Oct. 2, 2024) ............................................................................ 7
United States v. MacPherson,
  424 F.3d 183 (2d Cir. 2005)...................................................................................................... 19
United States v. Macrina,
  109 F.4th 1341 (11th Cir. 2024) ................................................................................................. 7
United States v. Mangano,
  No. 16 Cr. 540 (JMA), 2022 WL 2872670 (E.D.N.Y. July 20, 2022) ..................................... 22
United States v. McClean,
  528 F.2d 1250 (2d Cir. 1976).................................................................................................... 10
United States v. Menendez, No.,
  No. 23 Cr. 490 (SHS) (S.D.N.Y. Apr. 11, 2024) ....................................................................... 8
United States v. Myers,
  692 F.2d 823 (2d Cir. 1982)...................................................................................................... 18
United States v. Ng Lap Seng,
  934 F.3d 110 (2d Cir. 2019)............................................................................................... passim
United States v. Oaks,
  302 F. Supp. 3d 716 (D. Md. 2018) ............................................................................................ 8
United States v. Paulino,
  935 F.2d 739 (6th Cir. 1991) .................................................................................................... 10
United States v. Reichberg,
  5 F.4th 233 (2d Cir. 2021) ........................................................................................................ 20
United States v. Resendiz-Ponce,
  549 U.S. 102 (2007) ................................................................................................................ 5, 9
United States v. Rigas,
  490 F.3d 208 (2d Cir. 2007)........................................................................................................ 5

                                                                    iii
          Case 1:24-cr-00556-DEH                         Document 37                Filed 10/18/24               Page 5 of 30




United States v. Roberson,
  998 F.3d 1237 (11th Cir. 2021) ................................................................................................ 23
United States v. Rooney,
  37 F.3d 847 (2d Cir. 1994).......................................................................................................... 3
United States v. Salameh,
  152 F.3d 88 (2d Cir. 1998)........................................................................................................ 18
United States v. Silver,
  948 F.3d 538 (2d Cir. 2020).................................................................................................. 8, 19
United States v. Stringer,
  730 F.3d 120 (2d Cir. 2013).................................................................................................... 5, 9
United States v. Walsh,
  194 F.3d 37 (2d Cir. 1999).................................................................................................... 8, 10
United States v. Wedd,
  993 F.3d 104 (2d Cir. 2021).................................................................................................. 6, 19
United States v. Williams,
  No. 16 Cr. 03 (TCB), 2017 WL 1030804 (N.D. Ga. Mar. 16, 2017) ......................................... 8

Statutes:
18 U.S.C. § 201 ...................................................................................................................... passim
18 U.S.C. § 666 ...................................................................................................................... passim
18 U.S.C. § 1343 ........................................................................................................................... 16
18 U.S.C. § 1346 ........................................................................................................................... 16
18 U.S.C. § 1951 ........................................................................................................................... 16
21 U.S.C. § 841 ............................................................................................................................... 9




                                                                       iv
       Case 1:24-cr-00556-DEH          Document 37        Filed 10/18/24      Page 6 of 30




                                PRELIMINARY STATEMENT

       The Government respectfully submits this opposition to defendant Eric Adams’s motion

(Dkt. 14 (“Mot.”)) to dismiss Count Five of the Indictment (Dkt. 1 (“Ind.”)). The motion should

be denied. As further discussed below, the defendant seeks to avoid facing trial on a bribery charge

by claiming that the Indictment does not describe the corrupt bargain he entered with sufficient

precision. But Count Five describes a quid pro quo in which Adams sought and took luxury travel

from a foreign official in exchange for influencing New York City’s regulation of a Manhattan

skyscraper—including by pressuring the FDNY to allow the building to open without an

inspection. Courts consistently find such allegations sufficient to demand trial before a jury.

Moreover, Adams’s legal arguments contradict precedent, and his factual assertions stray far

afield. Adams claims that accepting tens of thousand of dollars’ worth of benefits in exchange for

pressuring a City agency is “routine” and “common.” (Mot. 10, 20). But however routine that may

have been for Adams, the law permits a jury to conclude that it was nonetheless illegal.

                                        BACKGROUND

       The charges in the Indictment stem from a long-running conspiracy in which the defendant

accepted illegal campaign contributions and bribes consisting of various forms of luxury travel.

The defendant does not dispute that the Indictment validly alleges a conspiracy count including

bribery and campaign finance objects and three substantive campaign finance offenses. (See Mot.

1-2; Dkt. 31 at 31 (defendant agreeing that his motions against the Indictment are complete)).




                                                 1
       Case 1:24-cr-00556-DEH          Document 37        Filed 10/18/24      Page 7 of 30




I. Factual Background

       Shortly after becoming Brooklyn Borough President in 2015, Adams began accepting

travel provided by the Turkish Official and others. (Ind. ¶¶ 10-11). 1 Although Adams disclosed

the benefits he received in 2015 as official travel, from that point forward he concealed what he

received on personal trips. (Id. ¶ 10). From 2016 through 2019, Adams secretly accepted over

$90,000 in benefits during his travel to Turkey and on the Turkish Airline, including free trips to

China, France, Turkey, and Sri Lanka; business class tickets to other destinations disguised as

economy class tickets; meals; transportation; and stays in opulent hotel suites. (Id. ¶¶ 12-16, 22-

23, 27, 41). As a condition of receiving this largesse, Adams agreed to cut off contact with a group

of his constituents whose political views were at odds with Turkey’s regime. (Id. ¶ 17). By 2018,

Adams’s corrupt relationship with the Turkish Official grew to include soliciting not only luxury

travel, but also contributions to the defendant’s fledgling mayoral campaign. (Id. ¶¶ 18-19, 29-30).

       By 2021, the Turkish Official had become Turkey’s consul general in New York. (Id. ¶ 38).

As such, the official had responsibility for the Turkish House, a newly built Manhattan skyscraper

owned by the Turkish Government. (Id.). In exchange for the stream of travel benefits the Turkish

Official directed to Adams, the defendant agreed to help the official receive favorable treatment

from New York City in regulating the building. (Id. ¶¶ 33, 38). That year, Adams pressured the

FDNY to allow the Turkish House to open in time to be inaugurated by Turkey’s President, even

though the building had not yet received a fire safety inspection. (Id. ¶ 38). In return, Adams got,

among other things, over $12,000 in free airfare on a trip to Africa, an all-expense-paid night on




1
        Adams contends that only certain paragraphs of the Indictment support the bribery count
(Mot. 3), but the bribery count expressly incorporates all the allegations in the Indictment except
for those setting forth the statutory elements of other offenses (Ind. ¶ 62).

                                                 2
       Case 1:24-cr-00556-DEH            Document 37       Filed 10/18/24      Page 8 of 30




the town in Istanbul, and various perks—including transportation, lodging, and a VIP suite in the

Turkish Airline’s business class lounge for his chief fundraiser. (Id. ¶¶ 35, 39-40). 2

        The defendant’s corrupt quid pro quo with the Turkish Official continued into 2022, when

Adams became Mayor. Adams agreed to continue helping the official with regulatory problems

“like FDNY approvals” regarding the Turkish House, and the official agreed to continue providing

travel benefits. (Id. ¶ 44).

II. Legal Background

        Count Five charges Adams with soliciting and accepting bribes in violation of 18 U.S.C.

§ 666(a)(1)(B). (Id. ¶ 63). That statute prohibits state and local officials from “accept[ing] or

agree[ing] to accept, anything of value from any person, intending to be influenced or rewarded in

connection with any business, transaction, or series of transactions” of the government or agency

in which the official serves. 18 U.S.C. § 666(a)(1)(B); see generally United States v. Ng Lap Seng,

934 F.3d 110, 122-36 (2d Cir. 2019). 3

        The Supreme Court recently examined Section 666(a)(1)(B) in Snyder v. United States,

144 S. Ct. 1947 (2024). Snyder analyzed whether the statute prohibits taking both bribes and



2
        Adams also solicited a luxury trip to Turkey, including stays at the Four Seasons Istanbul
and luxury beach resorts worth over $20,000, which he planned directly with the Turkish Official
as well through the Adams Staffer, then cancelled at the last minute. (Ind. ¶ 34). To the extent
Adams suggests that his cancellation has any legal significance (see Mot. 4, 13), that is incorrect:
Count Five includes solicitation, meaning that Adams completed the crime when he asked the
Turkish Official for this bribe. See 18 U.S.C. § 666(a)(1)(B); e.g., United States v. Rooney, 37 F.3d
847, 852 (2d Cir. 1994) (examining whether unsuccessful solicitation would have resulted in
corrupt quid pro quo if accepted). Nor is it correct to say that Adams “received no benefits” (Mot.
13) in connection with this episode: Few other New Yorkers could likely reserve a week-long
luxury trip to a foreign county, including multiple flights and hotels as well as meals and
entertainment, merely by buying two economy class seats, then cancel on the day of their departure
and receive a full refund. (Ind. ¶ 34).
3
        Section 666 also contains certain limitations not at issue here, such as a monetary threshold
for the amount of federal aid received by the state or local government. See 18 U.S.C. § 666.

                                                  3
       Case 1:24-cr-00556-DEH             Document 37       Filed 10/18/24      Page 9 of 30




gratuities, or only the former. Id. at 1951-52. As the Court explained, “bribe” and “gratuity” both

describe a payment to a public official in return for the official’s actions. Id. But whereas bribes

are paid or agreed to before an official does what the bribe-payer is paying the official to do,

gratuities are paid after the fact, without any advance agreement to be influenced on the part of the

official. See id. Where the payment is made after the act, the distinction is whether the official

takes “(i) a reward given after the act with no agreement beforehand (gratuity) or (ii) a reward

given after the act pursuant to an agreement beforehand (bribe).” Id. at 1959. 4 Based on the text,

history, and purpose of the statute, the Court concluded that Section 666 criminalizes only bribes,

not gratuities. Id. at 1959-60 (“Section 666 is a vital statute, but its focus is targeted: Section 666

proscribes bribes to state and local officials, while allowing state and local governments to regulate

gratuities to state and local officials.”).

                                              ARGUMENT

        The defendant’s attack on Count Five fails for at least three reasons: (I) Count Five pleads

a violation of federal law, and the defendant’s legal arguments concern the standards for jury

instructions, not pleadings; (II) the defendant’s legal arguments are incorrect even as to jury

instructions; and (III) even if the defendant’s legal arguments were correct, the facts of this case

would satisfy the standards he asks this Court to adopt.

I. Count Five States a Federal Crime

    A. Applicable Law

        “An indictment is sufficient if it ‘first, contains the elements of the offense charged and

fairly informs a defendant of the charge against which he must defend, and, second, enables him



4
       Unless otherwise noted, case quotations omit all internal citations, quotation marks, and
previous alterations.

                                                  4
      Case 1:24-cr-00556-DEH           Document 37        Filed 10/18/24      Page 10 of 30




to plead an acquittal or conviction in bar of future prosecutions for the same offense.’” United

States v. Stringer, 730 F.3d 120, 124 (2d Cir. 2013) (quoting Hamling v. United States, 418 U.S.

87, 117 (1974)); see also United States v. Resendiz-Ponce, 549 U.S. 102, 108 (2007). To state an

offense “an indictment need do little more than to track the language of the statute charged and

state the time and place (in approximate terms) of the alleged crime.” United States v. Alfonso, 143

F.3d 772, 776 (2d Cir. 1998). “An indictment . . . need not be perfect, and common sense and

reason are more important than technicalities.” United States v. De La Pava, 268 F.3d 157, 162

(2d Cir. 2001).

       “The dismissal of an indictment is an extraordinary remedy reserved only for extremely

limited circumstances implicating fundamental rights.” Id. at 165. In reviewing a motion to

dismiss, courts “accept as true all of the allegations of the indictment,” and “[c]ontrary assertions

of fact by the defendants will not be considered.” United States v. Goldberg, 756 F.2d 949, 950

(2d Cir. 1985); United States v. Benjamin, 95 F.4th 60, 66 (2d Cir. 2024) (same). Reviewing courts

also deem the indictment “to include facts which are necessarily implied by the specific allegations

made.” United States v. Rigas, 490 F.3d 208, 229 (2d Cir. 2007) .

   B. Discussion

       Count Five “contains the elements of the offense charged and fairly informs [the] defendant

of the charge against which he must defend, and, second, enables him to plead an acquittal or

conviction in bar of future prosecutions for the same offense.” Hamling, 418 U.S. at 117.

Paragraph 63 of the Indictment indisputably “track[s] the language of the statute charged and

state[s] the time and place (in approximate terms) of the alleged crime.” Alfonso, 143 F.3d at 776.

Adams does not, and could not reasonably, deny that Count Five also adequately informs him of

the charge and sufficiently specifies his crime to allow him to plead double jeopardy if he is again



                                                 5
      Case 1:24-cr-00556-DEH             Document 37         Filed 10/18/24        Page 11 of 30




prosecuted for it. That is all this Court needs to determine in order to deny the motion. See Costello

v. United States, 350 U.S. 359, 363 (1956) (“An indictment returned by a legally constituted and

unbiased grand jury . . . if valid on its face, is enough to call for trial of the charge on the merits.”);

United States v. Dawkins, 999 F.3d 767, 780 (2d Cir. 2021) (“At the indictment stage, we do not

evaluate the adequacy of the facts to satisfy the elements of the charged offense. That is something

we do after trial.” (quoting United States v. Wedd, 993 F.3d 104, 120 (2d Cir. 2021))).

        The defendant’s contrary arguments mischaracterize the Indictment, the case law, and often

both. Adams claims that Count Five charges him with soliciting and taking not bribes, but rather

gratuities, which are not covered by Section 666 under Snyder. (Mot. 14). Yet the Indictment says

he took bribes, not gratuities. (See Ind. ¶ 6 (“In exchange for free travel and other travel-related

bribes . . . .)). And in holding that Section 666 does not reach gratuities, Snyder made emphatically

clear that Section 666 “is a bribery statute.” Snyder, 144 S. Ct. at 1954, 1956, 1959.

        Adams’s claim that the Indictment does not say what it literally recites (Mot. 14-15) fails

on its face, because at this stage of litigation the Indictment’s statements are taken as true, and the

defendant’s contrary assertions “will not be considered.” Benjamin, 95 F.4th at 66. But the legal

premises underlying Adams’s assertions also err. Snyder made clear that the essential distinction

between bribes and gratuities is that bribes are accepted (or solicited) in exchange for the

bribe-taker agreeing “to be influenced,” whereas gratuities are given as “a token of appreciation,”

without any agreement on the part of the recipient. Snyder, 144 S. Ct at 1951, 1956. The Indictment

plainly alleges that Adams sought and took travel benefits “in exchange for intending to be

influenced.” (Ind. ¶ 63; see also, e.g., id. ¶ 33 (Adams took travel benefits “in exchange for”

forcing the opening of the Turkish House), ¶ 43 (Adams “continued his agreement with the Turkish

Official” to exchange regulatory favors for travel benefits); ¶ 44 (Adams took travel benefits “in



                                                    6
      Case 1:24-cr-00556-DEH           Document 37         Filed 10/18/24      Page 12 of 30




exchange for intending to be influenced” in the City’s regulation of the Turkish House)). The

assertion that the quid was taken “in exchange for” the quo alleges a bribery agreement. Benjamin,

95 F.4th at 73-74; see also United States v. Madigan, No. 22 Cr. 115 (JBB), Dkt. 213 at 17-19

(N.D. Ill. Oct. 2, 2024) (rejecting motion to dismiss under Snyder because allegation of payments

“in exchange for” actions alleged bribery quid pro quo).

       Moreover, Snyder defeats the defendant’s argument that some of the charged bribes must

really be charged gratuities because Adams received them after performing official action for the

Turkish Official. (See Mot. 6-7, 14). Section 666 prohibits not only payments taken “intending to

be influenced” but also those taken “intending . . . to be rewarded.” 18 U.S.C. § 666(a)(1)(B). In

holding that the latter category still meant bribes, not gratuities, the Snyder majority reasoned that

by including “rewarded” in the statute, “Congress made clear that the timing of the agreement is

the key, not the timing of the payment, and thereby precluded such a potential defense.” Snyder,

144 S. Ct. at 1959; See, e.g., United States v. Macrina, 109 F.4th 1341, 1351 (11th Cir. 2024)

(rejecting argument that payments made after the corrupt act must be gratuities under Snyder).

       Most of the defendant’s other arguments depend on the premise that bribery under

Section 666 requires proving an “official act” as that term is defined in McDonnell v. United States,

579 U.S. 550 (2016). (See Mem. 7-12, 17-19). As explained below, that is wrong, both because

the Second Circuit has squarely held that Section 666 does not require satisfying McDonnell’s

official act requirement, and because the conduct here would satisfy McDonnell even if that was

required. But for purposes of this motion, all that matters is that McDonnell does not concern

pleading standards. Instead, it was a case about jury instructions. See McDonnell, 579 U.S. 550 at

577 (“Governor McDonnell argues that his convictions must be vacated because the jury was

improperly instructed on the meaning of ‘official act’ under [18 U.S.C.] § 201(a)(3) . . . . We



                                                  7
      Case 1:24-cr-00556-DEH            Document 37        Filed 10/18/24      Page 13 of 30




agree.”). Courts thus consistently reject motions to dismiss under McDonnell. E.g., United States

v. Lee, 919 F.3d 340, 353, 354-55 (6th Cir. 2019), cert. denied, 140 S. Ct. 895 (2020); United

States v. Menendez, No. 23 Cr. 490 (SHS), Dkt. 344 at 50-52 (S.D.N.Y. Apr. 11, 2024)

(“Defendants contend that various of the actions alleged by the government in support of its

bribery-related counts are not official acts as that term is defined in McDonnell . . . . However, this

issue may not be decided by the Court now, but is more properly determined by the jury at the end

of the case.”); United States v. Keleher, 505 F. Supp. 3d 41, 48 (D.P.R. 2020) (“The indictment’s

allegations satisfy the government’s burden at this stage, because they sufficiently notify the

defendants of the crimes with which they are charged and would allow them to raise a double

jeopardy issue should that become warranted. A jury, not this Court, must determine whether [the

charged] actions . . . constitute an official act or evidence an agreement to take an official act.’”);

United States v. Oaks, 302 F. Supp. 3d 716, 726 (D. Md. 2018) (“[T]he Defendant argued at the

hearing that an honest services indictment must allege everything McDonnell requires in jury

instructions. . . . This Court finds no basis to extend the full breadth of McDonnell to indictments

. . . .”); United States v. Williams, No. 16 Cr. 03 (TCB), 2017 WL 1030804, at *4 (N.D. Ga.

Mar. 16, 2017).

       Adams offers no contrary authority. He cites cases concerning McDonnell, but those cases

also address jury instructions, not pleading standards. See United States v. Silver, 948 F.3d 538 (2d

Cir. 2020); United States v. Jefferson, 289 F. Supp. 3d 717 (E.D. Va. 2017). And his citations on

pleading standards do nothing to suggest that McDonnell bears on his motion to dismiss. (See Mot.

5 (citing United States v. Gonzalez, 686 F.3d 122, 127 (2d Cir. 2012); Russell v. United States, 369

U.S. 749, 764-65 (1962); United States v. Walsh, 194 F.3d 37, 44 (2d Cir. 1999))).




                                                  8
      Case 1:24-cr-00556-DEH          Document 37        Filed 10/18/24      Page 14 of 30




       For example, Gonzalez considered an indictment’s failure to plead the quantity of cocaine

in charging a violation of 21 U.S.C. § 841(b)(1)(B). Gonzalez, 686 F.3d at 123. Section

841(b)(1)(B) imposes a mandatory minimum sentence for offenses involving 500 grams or more

of cocaine. Id. Because the indictment did not allege that any particular quantity of cocaine was

involved, the Circuit concluded that Gonzalez had not been charged with violating the statute. Id.

Adams claims that Gonzalez stands for the proposition that, “Prosecutors cannot simply insert a

conclusory allegation of ‘pressure’ and make out a charge of bribery.” (Mot. 18). In fact, Gonzalez

stands for nearly the opposite proposition: Exactly what was missing in the Gonzalez indictment

was a conclusory allegation that the defendant sold at least 500 grams of cocaine. See Gonzalez,

686 F.3d at 132 (to have charged Gonzalez with distributing “500 grams or more of cocaine,” the

grand jury needed “to have alleged that fact in words.”). Thus, even if the Indictment were required

to allege that Adams “pressured” the FDNY, that the Indictment does make that allegation (Ind.

¶¶ 6, 38, 39) would suffice. See, e.g., United States v. Bout, No. 08 Cr. 365 (SAS), 2011 WL

2693720, at *5 n.73 (S.D.N.Y. July 11, 2011) (“To the extent [the defendant’s] challenges are to

the sufficiency of the Government’s evidence to satisfy—as opposed to the sufficiency of the

Indictment to allege—the federal elements of the crimes charged, those arguments are not

appropriately decided on a motion to dismiss.”), aff’d, 731 F.3d 233 (2d Cir. 2013).

       Even further afield is the defendant’s reliance on Russell. The Second Circuit has

described Russell as “a 50 year-old precedent, which is one of the very rare cases in which an

indictment that tracked the statutory language and furnished the pertinent dates was held

insufficient.” Stringer, 730 F.3d at 125. Stringer went on to stress the unique facts of Russell,

which arose in the prosecution of a witness for refusing to answer questions during the notorious

McCarthy-era hearings. Id. at 125-26 (citing Resendiz-Ponce, 549 U.S. 102). Courts thus regularly



                                                 9
      Case 1:24-cr-00556-DEH            Document 37       Filed 10/18/24      Page 15 of 30




distinguish Russell in cases falling outside its idiosyncratic context. See Walsh, 194 F.3d at 45;

United States v. McClean, 528 F.2d 1250, 1257 (2d Cir. 1976); United States v. Paulino, 935 F.2d

739, 750 n.4 (6th Cir. 1991). But even on its own terms, Russell does not aid Adams. In that case,

the indictment alleged the refusal to answer questions pertinent to a subject under inquiry by a

congressional committee, but did not specify the subject under inquiry. Russell, 369 U.S. at 764.

That left the defendant unprepared to defend against the charge, because he could not know with

certainty what he had been accused of. Id. at 764-65. Adams makes no claim that the detailed

indictment here leaves him in similar doubt.

       The defendant’s final pleading standards case, Walsh, is—as just noted—one of those cases

that distinguished Russell en route to denying a motion to dismiss. Adams quotes portions of

Walsh’s statement that the “Indictment Clause of the Fifth Amendment requires that an indictment

contain some amount of factual particularity to ensure that the prosecution will not fill in elements

of its case with facts other than those considered by the grand jury.” Walsh, 194 F.3d at 44. But

Adams make no claim that the Indictment lacks sufficient particularity, and nothing in Walsh

suggests otherwise. This Court can thus safely follow Walsh and deny the defendant’s motion to

dismiss Count Five. See id. at 44-45.

II. Section 666 Does Not Require Jury Instructions on McDonnell’s Official Act
    Requirement

       Because Count Five contains all the elements of a federal offense, and sufficiently informs

Adams of the charge against him, this Court need proceed no further to resolve the instant motion.

If, however, the Court examines the defendant’s legal arguments on their own terms, it will

discover that they squarely contradict Second Circuit precedent.

       Most of Adams’s arguments depend on the premise that Section 666 criminalizes his

conduct only if he agreed to perform an “official act” as McDonnell defined that term in 18 U.S.C.


                                                 10
      Case 1:24-cr-00556-DEH            Document 37         Filed 10/18/24      Page 16 of 30




§ 201. (See Mem. 7-12, 17-19). Section 201 applies to federal officials who take or receive bribes

“to influence any official act,” 18 U.S.C. § 201(b)(1), and provides a detailed definition of “official

act,” id. § 201(a)(3). Section 666 does not contain the term “official act,” but rather applies to those

who take bribes “intending to be influenced or rewarded in connection with any business,

transaction, or series of transactions of” the government or agency of which the bribe-taker is an

agent. 18 U.S.C. § 666(a)(1)(B). And the Second Circuit held that Section 666 does not require

proof of an official act as defined in McDonnell in Ng Lap Seng, 934 F.3d at 132-36 (district court

erred in instructing jury that Government must satisfy McDonnell to prove violation of

Section 666); see also United States v. Boyland, 862 F.3d 279, 291 (2d Cir. 2017).

       Adams claims that Snyder overruled Ng Lap Seng and made McDonnell applicable to

Section 666. (See Mot. 8). But Snyder did not purport to address whether McDonnell applied to

Section 666. As discussed above, the question in Snyder was whether Section 666 applied to

gratuities as well as bribes, and Snyder held only that gratuities fall outside the statute. Nowhere

did Snyder analyze what an official must agree to do in order to constitute bribery under

Section 666, much less examine whether McDonnell had any bearing on that question. This Court

should therefore decline the defendant’s invitation to find that the Supreme Court overruled Ng

Lap Seng without even touching on its holding. See Monsanto v. United States, 348 F.3d 345, 351

(2d Cir. 2003) (even if a Supreme Court case is “in tension” with Second Circuit precedent, courts

in this Circuit are required to follow the Circuit’s precedent “unless and until that case is

reconsidered by [the Second Circuit] sitting in banc (or its equivalent) or is rejected by a later

Supreme Court decision.”); Boone v. United States, No. 02 Cr. 1185 (JMF), 2017 WL 398386, at

*1 (S.D.N.Y. Jan. 30, 2017) (district courts must follow circuit precedent unless a Supreme Court




                                                  11
      Case 1:24-cr-00556-DEH            Document 37       Filed 10/18/24      Page 17 of 30




decision “so conclusively supports th[e] finding that the Second Circuit or the Supreme Court is

all but certain to overrule” that precedent).

       The defendant’s attack on Ng Lap Seng tries several angles, all foreclosed by the cases he

cites. First, Adams notes that Snyder reasoned that Section 666 “tracks” Section 201(b). (Mot. 8).

But Snyder was not referring to the “official act” language in Section 201(b), which appears

prominently in that statute and is quite obviously absent from Section 666. Rather, Snyder focused

on the appearance of “corruptly” in both statutes, which the Court found to connote only bribery,

not gratuities. Snyder, 144 S. Ct. at 1954-55. The Court’s analysis of a word that appears in both

statutes does not imply that the Court also found that two very different statutory phrases “track[]”

each other, and thus does not put Snyder in tension with Ng Lap Seng.

       Second, Adams points out that McDonnell was driven not only by the statutory text of

Section 201, but also by constitutional concerns. (Mot. 9-10). The Second Circuit agreed, and thus

analyzed those constitutional concerns in Ng Lap Seng. As the Circuit explained, Section 666 does

not present the same constitutional issues as Section 201, or the other statutes where courts have

found McDonnell applicable. See Ng Lap Seng, 934 F.3d at 134-39. In particular, the Circuit found

that Section 666 provides sufficient clarity on its face to avoid vagueness concerns, and does not

pose federalism concerns because Congress expressly chose to regulate state and local

governments based on their acceptance of federal funds. Id.

       Nothing in Snyder undermines that reasoning. To the contrary, Snyder cites McDonnell

twice: Once for the proposition that vague statutes give too much power to prosecutors, and once

for the proposition that federalism concerns should bear on the interpretation of Section 666.

Snyder, 144 S. Ct. at 1958. And the Court found both concerns satisfied by limiting the statute to

bribery and not gratuities, without any hint that Section 666’s application to bribery also needed



                                                 12
      Case 1:24-cr-00556-DEH           Document 37         Filed 10/18/24      Page 18 of 30




more constraints. See id. at 1959-60. Snyder cannot therefore be read as conflicting with the

considered constitutional analysis of Ng Lap Seng.

       Third, there can be no dispute that Snyder uses the words “official act” many, many times.

(See Mot. 7). But the Court never suggested that it was using the phrase as a term of art, meant to

require the detailed jury instructions that McDonnell found necessary to elucidate the statutory

definition in Section 201. Rather, “official act” is a fairly generic term that need not always carry

the full freight of McDonnell. Adams appears to acknowledge as much. (See Mot. 10 (addressing

the possibility that “the contours of ‘official act’ under Section 666” may “differ[] somewhat from

the defined term under . . . Section 201(b)”). The Second Circuit also noted that the phrase “official

act” is not synonymous with the defined term in Section 201. See Ng Lap Seng, 934 F.3d at 132

(“not all federal bribery statutes identify ‘official act,’ much less official act as defined in

§ 201(a)(3)”). Thus, in pre-McDonnell cases, the Circuit sometimes used “official act” as

shorthand for what the bribed official must agree to provide under Section 666, when it obviously

was not referring to Section 201, and could not have been referring to McDonnell. See, e.g., United

States v. Bahel, 662 F.3d 610, 636 (2d Cir. 2011); United States v. Crozier, 987 F.2d 893, 898 (2d

Cir. 1993). Given that Snyder never discussed McDonnell’s explication of “official act,” it is

apparent that the opinion was doing the same thing: using the phrase as shorthand for what an

official agrees to provide in exchange for a bribe, to avoid continuously repeating the cumbersome

“intending to be influenced or rewarded in connection with any business, transaction, or series of

transactions of such organization, government, or agency involving any thing of value of $5,000

or more,” 18 U.S.C. § 666(a)(1)(B); see Snyder, 144 S. Ct. at 1954-55 & n.2 (stating that “Section

666(a)(1)(B) makes it a crime for state and local officials to ‘corruptly’ accept payment ‘intending

to be influenced or rewarded’ for an official act,” then providing full statutory text in footnote).



                                                 13
      Case 1:24-cr-00556-DEH            Document 37        Filed 10/18/24      Page 19 of 30




        Reading the opinion as a whole makes it even clearer that Snyder did not secretly hold that

Section 666 incorporates McDonnell’s official act requirement in a case that never presented that

question. Much of Snyder’s reasoning turned on the fear that if Section 666 covered gratuities, any

of America’s “19 million state and local officials” would commit a federal crime by accepting

even the smallest gift. Snyder, 144 S. Ct. at 1951. Section 666 would then extend, the Court said,

to “the mail carrier,” a “public school teacher,” a “trash collector,” “snowplow drivers,” and “high

school basketball coaches,” among many others, for accepting a “holiday tip” or “end-of-year gift

basket.” Id. at 1952, 1957-58. The Court made no effort to suggest that anyone doing these jobs

might have performed an official act within the narrow meaning of McDonnell, yet concluded that

if Section 666 applied to gratuities, then all these officials would be subject to prosecution for

accepting a framed photo or a burrito. Id. at 1958. It is thus clear that Snyder did not rule, or even

hint, that the official act requirement in McDonnell applies to Section 666. See also id. at 1969-70

(Jackson, J., dissenting (criticizing the majority opinion for failing to consider possible limits that

could mitigate its parade of horribles, and giving as one example McDonnell “clarifying the

‘official act’ requirement in § 201(a)(3)”)). 5

        That is not to say that Section 666 places no limits on what an official must agree to do in

return for a bribe. The statute provides its own definition of the required quo: “intending to be

influenced or rewarded in connection with any business, transaction, or series of transactions of

such organization, government, or agency involving any thing of value of $5,000 or more,” 18

U.S.C. § 666(a)(1)(B). There are precedents interpreting that language. See Boyland, 862 F.3d at


5
        The alternative is even less palatable for Adams. If using the phrase “official act” means
that Snyder delimited the extent of official actions that can satisfy Section 666, then rather than
adopting McDonnell, Snyder held that nearly anything goes. A statute that criminalizes accepting
a gift basket offered in exchange for a year of teaching math, cf. Snyder, 144 S. Ct. at 1957-58,
plainly covers the defendant’s conduct, and far less.

                                                  14
      Case 1:24-cr-00556-DEH           Document 37        Filed 10/18/24       Page 20 of 30




291 (examining the textual differences between Sections 666 and 201); Ng Lap Seng, 934 F.3d at

132-33 (explaining that the textual differences between Sections 666 and 201 are consistent with

the different constitutional concerns at issue in the two statutes). For example, the Circuit recently

interpreted the scope of “business, transaction, or series of transactions” in Dawkins. That case

involved bribes given to basketball coaches at federally funded universities, in return for which

the coaches steered their star players to a bribe-paying sports agent. Dawkins, 999 F.3d at 777. On

appeal, the Circuit affirmed a jury instruction that “the phrase ‘business or transaction’ is not

limited to transactions or to commercial business of the universities, but includes intangible aspects

of the business of the organization,’ and that the ‘business or transaction’ involved in this case was

‘the operation and administration of the university’s men’s basketball program.’” Id. at 785-87.

The “City of New York’s regulation of the Turkish House” (Ind. ¶ 63) falls comfortably within

those instructions. Thus, even if indictments had to allege everything that might be required in an

eventual jury charge, Count Five would pass muster.

III. The Defendant’s Conduct Satisfies any Official Act Requirement

       The defendant also errs when claiming that his conduct is not criminal under McDonnell.

Although that case is inapplicable to the present motion twice over—because McDonnell does not

concern pleading standards or Section 666—Adams’s crimes present none of the concerns

McDonnell identified when refining the definition of “official act” in Section 201.

   A. Applicable Law

       As noted above, McDonnell examined the jury instructions required to determine whether

a defendant committed an “official act,” which is a defined term in the bribery statute for federal

officials, 18 U.S.C. § 201. As it concluded:

       In sum, an “official act” is a decision or action on a “question, matter, cause, suit,
       proceeding or controversy.” The “question, matter, cause, suit, proceeding or
       controversy” must involve a formal exercise of governmental power that is similar

                                                 15
      Case 1:24-cr-00556-DEH           Document 37        Filed 10/18/24      Page 21 of 30




       in nature to a lawsuit before a court, a determination before an agency, or a hearing
       before a committee. It must also be something specific and focused that is
       “pending” or “may by law be brought” before a public official. To qualify as an
       “official act,” the public official must make a decision or take an action on that
       “question, matter, cause, suit, proceeding or controversy,” or agree to do so. That
       decision or action may include using his official position to exert pressure on
       another official to perform an “official act,” or to advise another official, knowing
       or intending that such advice will form the basis for an “official act” by another
       official. Setting up a meeting, talking to another official, or organizing an event (or
       agreeing to do so)—without more—does not fit that definition of “official act.”

McDonnell, 579 U.S. at 574 (quoting 18 U.S.C. § 201(a)(3)). Courts have since held that

McDonnell requires jury instructions to that effect in certain other bribery statutes, such as honest

services fraud under 18 U.S.C. §§ 1343 and 1346, and extortion under color of official right under

18 U.S.C. § 1951. See Boyland, 862 F.3d at 290-91 (holding that Sections 1346 and 1951, but not

Section 666, require such instructions).

   B. Discussion

       1. Adams Agreed to Perform Specific and Focused Official Acts in Exchange for
          Bribes

       Adams solicited and accepted luxury travel in return for agreeing to perform official acts

that were “specific and focused” and “similar in nature to a determination before an agency.”

McDonnell, 579 U.S. at 574. Adams agreed to ensure the Turkish House received a temporary

certificate of occupancy (“TCO”), and to intervene with respect to similar regulatory issues with

the building, “[l]ike FDNY approvals.” (Ind. ¶¶ 33, 38, 43). Adams does not address those

allegations so much as pretend that they do not exist. He all-but admits that his intervention on the

TCO qualifies as an official act, but then argues that other paragraphs in the Indictment undo the

very specific statement that he “intervened with the FDNY to permit the Turkish Consulate to

occupy a skyscraper that had not passed a fire safety inspection, in exchange for, among other

things, luxury travel benefits provided by the Turkish Official and the Airline Manager.” (Mot.



                                                 16
      Case 1:24-cr-00556-DEH           Document 37        Filed 10/18/24      Page 22 of 30




14-15 (quoting Ind. ¶ 33)). Neither law nor logic supports his claim that because the Indictment

also describes other corrupt things Adams did, it somehow ceases to specify this particular one.

       The defendant offers even less with respect to his agreement to have his administration

address “pending problems regarding” the Turkish House “[l]ike FDNY approvals.” (Ind. ¶ 43).

Adams argues that the phrase “pending problems” is “too generalized” (Mot. 16) only by ignoring

the specificity that “[l]ike FDNY approvals” obviously adds. And his argument that he never

“actually received word of any ‘pending problems’ or acted on them” (Mot. 16) ignores the

statutory text. Section 666 criminalizes soliciting or accepting things of value—something Adams

repeatedly did—“corruptly . . . intending to be influenced or rewarded.” 18 U.S.C. § 666(a)(1)(B)

(emphasis added). There is no requirement that Adams’s intent translated into action, so long as

he took payments with that intent. The same is true for other federal bribery statutes, including

those that apply McDonnell. 6 Thus, even if Adams had not actually taken official action by

pressuring the FDNY to allow the Turkish House to open, protesting that he did not also perform

other corrupt official acts would be beside the point.

       Many of Adams’s remaining arguments about McDonnell amount to comparing imaginary

fact patterns to inapplicable standards. For example, Adams says that the Indictment “does not

allege any specific exchanges or conversations in which Adams and the Turkish official entered

into this purported quid pro quo agreement.” (Mot. 3). But an indictment need not allege all the

supporting facts that will prove its allegations—as the Circuit made clear just this year, on exactly


6
         See, e.g., Evans v. United States, 504 U.S. 255, 268 (1992) (“[T]he offense is completed at
the time when the public official receives a payment in return for his agreement to perform specific
official acts; fulfillment of the quid pro quo is not an element of the offense.”); cf. 18 U.S.C.
§ 201(b)(2)(A) (prohibiting public officials from “agree[ing] to receive or accept anything of value
. . . in return for . . . being influenced in the performance of an official act”). Indeed, unlike in
Section 666, under McDonnell there is no requirement that “the public official in fact intend to
perform the ‘official act,’ so long as he agrees to do so.” McDonnell, 579 U.S. at 572.

                                                 17
      Case 1:24-cr-00556-DEH           Document 37        Filed 10/18/24       Page 23 of 30




this point. See Benjamin, 95 F.4th at 73-74. And in any event, the Government need not offer proof

of such a conversation at any point in the case, given that “evidence of a corrupt agreement in

bribery cases is usually circumstantial, because bribes are seldom accompanied by written

contracts, receipts or public declarations of intentions.” United States v. Friedman, 854 F.2d 535,

553 (2d Cir. 1988). Courts thus routinely reject a defendant’s claim that “a bribery agreement

would become legal if he simply avoided memorializing it expressly in words or in writing.”

Benjamin, 95 F.4th at 75; see, e.g., United States v. Blagojevich, 794 F.3d 729, 738 (7th Cir. 2015)

(“Few politicians say, on or off the record, ‘I will exchange official act X for payment Y.’”); United

States v. Inzunza, 638 F.3d 1006, 1014 (9th Cir. 2011) (“An official may be convicted without

evidence equivalent to a statement such as: ‘Thank you for the $10,000 campaign contribution. In

return for it, I promise to introduce your bill tomorrow.’”); United States v. Myers, 692 F.2d 823,

844 (2d Cir. 1982) (undercover agents offering bribe need not say “Congressman, I have here a

cash bribe to be exchanged for your corrupt promise to be influenced in your official action.”).

       In any event, the Indictment describes a conversation that is about as express as courts see

in a bribery case. When the Turkish Official needed Adams to intervene with the FDNY, the

Turkish Official told the Adams Staffer to remind Adams of all the support Turkey had offered,

and that it was now “his turn.” (Ind. ¶ 38g). Adams responded, “I know.” (Id.). The natural reading

of that exchange is that Adams was acknowledging a pre-existing bargain. And after performing

the corrupt act, Adams reached right back out to collect more payment, requesting what would

amount to over $12,000 in luxury travel. (Id. ¶ 39). When combined with all the other

circumstantial evidence of a corrupt quid pro quo, only a portion of which is described in the

Indictment, the evidence that Adams agreed to be influenced when he solicited and accepted luxury

travel will more than suffice. See, e.g., United States v. Salameh, 152 F.3d 88, 143 (2d Cir. 1998)



                                                 18
      Case 1:24-cr-00556-DEH             Document 37         Filed 10/18/24       Page 24 of 30




(“as a general rule most evidence of intent is circumstantial”); United States v. MacPherson, 424

F.3d 183, 190 (2d Cir. 2005) (“A verdict of guilty may be based entirely on circumstantial evidence

as long as the inferences of culpability drawn from the circumstances are reasonable.”). 7

        2. Adams Pressured the FDNY

        The defendant maintains that a “reasonable factfinder could not construe [his] statements

as the exertion of pressure on any FDNY official to perform an official act or do anything.”

(Mot. 17). In asking how a factfinder could permissibly weigh the evidence in his case, Adams

leaps far ahead, past pleading standards and jury instructions, all the way to post-trial motions. See

Wedd, 993 F.3d at 120; United States v. Aiyer, 33 F.4th 97, 117 (2d Cir. 2022) (in criminal cases,

“summary judgment does not exist,” and “although a judge may dismiss a civil complaint pretrial

for insufficient evidence . . . a judge generally cannot do the same for a federal criminal

indictment.”). But his factual arguments will fail even when properly offered, because “pressure”

is how FDNY witnesses have described what Adams exerted, and rightly so.




7
        Adams argues at times that the timing of the bribes shows that he did not take them in
return for agreeing specifically to intervene with the FDNY. (Mot. 13-15). These claims appear
geared primarily to his argument that Count Five secretly charges gratuities, which errs for the
reasons explained above. (See supra at 7). But to the extent he is claiming that the agreement lacks
sufficient specificity for a bribery theory, this claim fails in at least four ways: First, the Indictment
in fact describes such a specific agreement. (Ind. ¶¶ 6, 33). Second, Section 666 does not require
such specificity in how the quo is described. See, e.g., Dawkins, 999 F.3d at 785-87. Third, even
in statutes governed by McDonnell, bribery is not limited to granular agreements to exchange a
single action for a single payment. See, e.g., Silver, 948 F.3d at 554 (a bribery scheme can involve
“this for these or these for these, not just this for that”); United States. v. Percoco, 13 F.4th 180,
201 (2d Cir. 2021) (“It would be strange indeed to hold that an original deal between an official
and payor somehow froze their agreement in time, excluding the possibility that an official could
later commit to take more acts in order to maintain a revenue stream.”), rev’d on other grounds,
598 U.S. 319 (2023). Fourth, under that same standard, a properly instructed jury would conclude
that the City’s “regulation of the Turkish House” (Ind. ¶ 63) also constitutes a sufficiently focused
“matter” for purposes of McDonnell. See, e.g., Silver, 948 F.3d at 570 (a rational jury would have
found a quid pro quo “to influence a particular matter, namely the relevant tax abatement and rent
stabilization programs”).

                                                   19
      Case 1:24-cr-00556-DEH           Document 37        Filed 10/18/24       Page 25 of 30




       The Indictment outlines that pressure. For over a week, the Fire Prevention Chief resisted

entreaties to acquiesce in the opening of the Turkish House without an inspection, and received a

report that the building was not only unlikely to pass an inspection, but “not safe to occupy.” (Ind.

¶ 38). But then Adams pushed the FDNY Commissioner for fast action, and the Fire Prevention

Chief turned on a dime, having been told he would be fired if he failed to comply. (Id.). The chief

took the “unprecedented” step of writing a sui generis letter that raised no objections to opening

the skyscraper, provided that its private engineers vouched for the fire alarm system, and based on

an assumption that another agency had verified that the sprinkler systems worked. (Id.). Even

without the testimony and exhibits that a jury will see to fill out this sketch, it is not hard to see

how a reasonable factfinder will understand the pressure exerted here. For example, a bribe-taking

official who contacts a prosecutor merely to ask why charges have not been filed in a particular

case could reasonably be found to have pressured the prosecutor, at least where the prosecutor

testified that the official “had never contacted her in such a way regarding other cases.” Lee, 919

F.3d at 342; see also United States v. Reichberg, 5 F.4th 233, 249 n.70 (2d Cir. 2021) (citing this

portion of Lee with approval).

       Adams resists this conclusion by ignoring the facts. He repeatedly claims to have done

nothing more than send “three messages.” (Mot. 2, 11, 13). But the indictment reflects a burst of

communication that also included phone calls. (Ind. ¶ 38). Plus, the length of communications has

little to do with whether they demonstrate a corrupt act: A congressman who sold his vote would

not be less guilty because his conduct consisted of the single word “aye.” And in any event, neither

the messages nor the phone calls are the official action here. They are merely evidence of the

action—causing the FDNY to allow a newly-built, 36-story midtown high-rise to be occupied




                                                 20
      Case 1:24-cr-00556-DEH           Document 37        Filed 10/18/24      Page 26 of 30




without passing an inspection. As McDonnell explained, although placing a phone call itself is not

an “official act” under Section 201:

       If an official sets up a meeting, hosts an event, or makes a phone call on a question
       or matter that is or could be pending before another official, that could serve as
       evidence of an agreement to take an official act. A jury could conclude, for
       example, that the official was attempting to pressure or advise another official on a
       pending matter. And if the official agreed to exert that pressure or give that advice
       in exchange for a thing of value, that would be illegal.

McDonnell, 579 U.S. at 573. The same reasoning renders irrelevant Adam’s repeated assertion

that the charges here could “encompass” routine acts like attending meetings. (Mot. 2, 11-12).

Many public corruption crimes will include quotidian acts like meetings and phone calls, because

that is how senior officials typically get things done. But where, as here, those routine actions are

used to sway another official’s performance of his duties “in exchange for a thing of value, that

would be illegal.” McDonnell, 579 U.S. at 573.

       Nor does it matter that Adams told the FDNY Commissioner that he would “manage . . .

expectations” if it turned out to be impossible to send an inspector to the Turkish House that day.

(Ind. ¶ 38m). The law does not require the pressure applied to be irresistible or unrelenting. It

suffices that Adams tried—here, through the successful application of pressure—to cause the

FDNY to change course. McDonnell makes this clear, by explaining that simply “advising”

another official, which plainly does not force the official to do anything, is enough. See McDonnell,

579 U.S. at 574. In Lee, for example, the corrupt official expressly told the prosecutor, “I’m not

trying to influence you . . . just trying to make you think,” but a “juror could easily have heard

those words and concluded that they meant the exact opposite—that Defendant was, in fact, trying

to influence the prosecutor.” 919 F.3d at 340; see also, e.g., United States v. Burke, No. 19 Cr.

322, 2024 WL 3090277, at *16 (N.D. Ill. June 21, 2024) (“[W]hen the longest-serving alderman

and Chairman of the Committee on Finance asks a city official to ‘look into’ a pending permit, the

                                                 21
      Case 1:24-cr-00556-DEH           Document 37        Filed 10/18/24       Page 27 of 30




request is not taken lightly. The trial evidence supports the reasonable inference that [the

defendant] knew or intended his call to sway the permit evaluation in his favor.”).

       For similar reasons, it is irrelevant that while Adams was a borough president he lacked

direct authority over the FDNY Commissioner. (See Mot. 18-19). Section 666 applies to

“an agent of . . . a . . . local . . . government.” 18 U.S.C. § 666(a)(1). “[T]he term ‘agent’ means a

person authorized to act on behalf of . . . a government and, in the case of an organization or

government, includes a servant or employee, and a partner, director, officer, manager, and

representative.” Id. § 666(d)(1). As a borough president, Adams was an officer of the New York

City government. See N.Y. City Charter § 81(a) (“There shall be a president of each borough

. . . .”); id. § 192 (describing borough presidents’ powers in City government). Thus, when the

defendant pressured the FDNY Commissioner (another City officer) regarding the FDNY’s

inspection of a building in the City—unquestionably City “business,” 18 U.S.C. § 666(a)(1)(B)—

he satisfied the elements of the statute. 8 And because Adams was indisputably an agent of the City,

his citations to cases involving private citizens (see Mot. 18-19) have no bearing.

       Moreover, even in statutes governed by McDonnell, courts have rejected the notion that a

defendant can corruptly cause another official to act only if the defendant has formal authority to

do so, a requirement absent from both McDonnell and the relevant statutes. See United States v.

Mangano, No. 16 Cr. 540 (JMA), 2022 WL 2872670, at *3 (E.D.N.Y. July 20, 2022) (rejecting

argument that McDonnell requires a formal relationship between the bribed official and the official

who is caused to act); Lee, 919 F.3d at 342 (“Defendant claims that an official can only ‘provide

advice’ to a second official if the first official is in an advisory role to the second. However,



8
      In any event, Adams’s deal with the Turkish Official continued into 2022, when Adams
was Mayor and had direct authority over the “FDNY approvals” he agreed to influence. (Ind. ¶ 43).

                                                 22
      Case 1:24-cr-00556-DEH             Document 37         Filed 10/18/24       Page 28 of 30




nowhere in McDonnell did the Supreme Court state that it was creating such a rule. We do not

adopt Defendant’s additional constraints on the requirements for an official to ‘provide advice.’”);

United States v. Roberson, 998 F.3d 1237, 1254 n.22 (11th Cir. 2021) (rejecting argument that

advice “must come from someone in a more formal advisory role”), cert. denied, 142 S. Ct. 1109

(2022). There is thus no shortage of cases where officials have been convicted of soliciting bribes

to influence other officials who lay outside their chain-of-command. See Boyland, 862 F.3d at 292

(affirming conviction of state assemblyman for taking bribes for helping secure permits from city

agencies”); United States v. Biaggi, 853 F.2d 89, 99 (2d Cir. 1988) (affirming conviction of

Congressman for attempts to influence city officials); United States v. Kimbrew, 944 F.3d 810,

814, 815 (9th Cir. 2019) (affirming conviction of aide to congresswoman for accepting bribes in

exchange for promises to pressure city employees, and explaining that “[t]he bribe recipient need

not be the final decisionmaker”), cert. denied, 141 S. Ct. 400 (2020); Lee, 919 F.3d at 352

(rejecting argument that “an official can only ‘exert pressure’ on a second official if the first official

has ‘leverage or power’ over the second official”).

        3. Adams Knew He Was Breaking the Law

        Adams also errs in invoking the concerns about fair notice and federal regulation of local

officials raised in McDonnell and Snyder. In a bid to show that he accepted little more than

common courtesies, Adams minimizes the scale of the benefits he sought and received, as “vacant

business-class seats and a car-ride.” (Mot. 1). But that is not what the Indictment charges, or what

the evidence will show. When Adams was not receiving entirely free flights or hotel suites, he

arranged to receive his business class seats and luxury bookings well in advance of his travel, not

because the accommodations were unsold, but so that he could reserve extravagant perks while

appearing to pay his own way. (See Ind. ¶¶ 12a, 14, 15d, 16, 21, 34a-c, 39). For example, for the

November and December 2021 personal trip with his partner, in September Adams told his
                                                   23
      Case 1:24-cr-00556-DEH           Document 37        Filed 10/18/24      Page 29 of 30




staffer—a City employee—to obtain economy class tickets to Pakistan. (Id. ¶ 39a). As was planned

from the start, the tickets were upgraded to business class in November, more than ten days before

Adams was scheduled to fly. (Id. ¶¶ 39a, c-d). Then four days before he was to fly to Pakistan,

Adams had his destination changed to Ghana, receiving a new set of the airline’s most expensive

seats on an entirely different flight, at no charge. (Id. ¶ 39d). Perhaps needless to say, the

Government does not expect the evidence to show that the Airline Manager was simply filling

vacant seats worth over $14,000 on a flight to Africa when he sold Adams economy class tickets

to Asia for about one-tenth the price, over three months before either flight departed. (See id.

¶¶ 39a-e). In short, the bribes Adams accepted look nothing like the criminalization of “gift cards,

lunches, plaques, books, framed photos, or the like” feared in Snyder, 144 S. Ct. at 1951. Cf. United

States v. Heard, 709 F.3d 413, 420 (5th Cir. 2013) (affirming bribery conviction where bribes

consisted primarily of payment for travel expenses).

       Adams also cannot defend his avarice as “routine” or “common” conduct. (Mot. 10, 20). It

should be clear from the face of the Indictment that there is nothing routine about a public official

accepting over $100,000 in benefits from a foreign diplomat, which he took great pains to

conceal—including by manufacturing fake paper trails to create the illusion of payment. And it is

definitionally not “common” to exert such pressure on the FDNY that it issues an “unprecedented”

letter allowing a skyscraper to open without an inspection, especially where the building’s foreign

owner told the official it was “his turn” to take action for a foreign country. (Ind. ¶¶ 38g, 38o).

Thus, absent some evidence that other officials have committed similar crimes yet gone

unprosecuted, Adams cannot seriously claim that his prosecution is “highly selective” (Mot. 20).

See United States v. Avenatti, 433 F. Supp. 3d 552, 563 (S.D.N.Y. 2020) (to make out selective

prosecution claim, defendant must show that “others similarly situated have not generally been



                                                 24
      Case 1:24-cr-00556-DEH           Document 37       Filed 10/18/24     Page 30 of 30




proceeded against because of conduct of the type forming the basis of the charge against the

defendant, and that the defendant has been singled out for prosecution”).

         For similar reasons, Adams cannot invoke federal overreach. Although Snyder worried

about federal prosecution displacing state regulation of gratuities, it had no such concern about

bribery. See Snyder, 144 S. Ct. at 1951 (regulation of gratuities is varied, but “American law

generally treats bribes as inherently corrupt and unlawful.”). Nor will anything about this case

deter elected officials from “raising issues with regulatory agencies that concern constituent-

donors.” (Mot. 19). The defendant did more here than raise an issue, the Turkish Official is not a

“constituent,” and Adams is surely not admitting that the official was a “donor.” But even if a

foreign diplomat were to receive the same protections that the First Amendment accords to

bonafide donors—and even if the bribes charged here were campaign contributions rather than

personal luxuries—that would not be a defense to the explicit exchange of benefits for corrupt

action charged in Count Five, as the Circuit recently reaffirmed. See Benjamin, 95 F.4th at 74-75

(state official had fair warning that quid pro quo involving campaign contributions was illegal).

                                         CONCLUSION

         For the reasons set forth above, the motion to dismiss Count Five should be denied.

Dated:          New York, New York
                October 18, 2024
                                              Respectfully submitted,

                                              DAMIAN WILLIAMS
                                              United States Attorney

                                      By:               /s/                   .
                                              Celia V. Cohen
                                              Andrew Rohrbach
                                              Hagan Scotten
                                              Derek Wikstrom
                                              Assistant United States Attorneys
                                              (914) 993-1921 / (212) 637-1944 / 2410 / 1085


                                                25
